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 3
                                UNITED STATES DISTRICT COURT
 4
                               WESTERN DISTRICT OF WASHINGTON
                                         AT TACOMA
 5

 6
     UNITED STATES OF AMERICA                              NO. CR09-5452RJB
 7
                 Plaintiff,                                Order Denying Defendant
 8         v.                                              Camarena's Motion for Discovery
                                                           Related to Vehicle Trackers
 9
     JUAN ANTONIO MOLINA-ABARCA, et al.,
10
                 Defendant.
11

12
            This matter comes before the court on the above-referenced motion (Dkt. 344), which
13
     the court deems to be filed on behalf of all defendants pursuant to the Procedural and
14
     Scheduling Order filed herein (Dkt. 176). The court is familiar with the records and files herein
15
     and documents filed in support of and in opposition to the motion.
16

17          This motion should be denied for the reasons stated in the government's response (Dkt.

18   368). If specific information as to what the tracker devices indicated is relevant to any

19   defendant's defense position, the parties should first consider stipulating as to such facts. In the

20   event that the government does offer evidence regarding information found by the use of
21   mobile tracking devices, it should be prepared to show the scientific validity of such
22
     information. The motion, however, is overbroad and should be denied.
23
            IT IS SO ORDERED.
24
            Dated this 4th day of January, 2010.
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 3                            ROBERT J. BRYAN
                              United States District Judge
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